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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANTHONY TOWNSEND as father and                          )
next friend of Z.T., a minor,                           )
                                                        )
               Plaintiff,                               )
       vs.                                              )
                                                        )     Case No. 2019-cv-06472
CONCEPT SCHOOLS NFP, d/b/a                              )
HORIZON SCIENCE ACADEMY                                 )
MCKINLEY PARK CHARTER                                   )
                                                              Judge Harry D. Leinenweber
SCHOOL, KALE GRAHAM and                                 )
SARAH KRIPPINGER,                                       )
                                                        )
               Defendants.                              )

                     STIPULATION OF DISMISSAL WITH PREJUDICE

       It is hereby stipulated between Plaintiff Anthony Townsend, Father and next friend of his

son, Z.T., a minor, and Defendant Concept Schools NFP, d/b/a/ Horizon Science Academy

McKinley Park Charter School, an Illinois not-for-profit corporation (“Concept Schools”),

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that this action and all claims brought

by Plaintiffs against Defendants Sarah Krippinger, Kale Graham and Concept Schools are

dismissed with prejudice and without right to refile or reinstate. All parties shall bear their own

attorney’s fees, costs and expenses.

AGREED TO BY:

                                                            Concept Schools NFP, d/b/a Horizon
Anthony Townsend                                            Science Academy McKinley Park Charter
                                                            School


By: /s/ Abby Bakos                                          By: /s/ Patrick J. Rocks
Abby Bakos                                                  Patrick J. Rocks




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                                  CERTIFICATE OF SERVICE

         I, Patrick J. Rocks, an attorney, certify that on January 7, 2021, he caused a copy of

Stipulation of Dismissal With Prejudice to be filed with the Clerk of the Court by electronic

filing protocols, and that same will therefore be electronically served on all attorneys of record

registered with the Court’s ECF/CM system.


                                                   By: /s/ Patrick J. Rocks
                                                   Patrick J. Rocks


4822-0592-5077, v. 1




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